Dear Secretary Carnahan:
This opinion letter responds to your request dated November 25, 2008, for our review under Section 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Tim Asher on November 5, 2008, relating to amending Article I, Section 34 of the Missouri Constitution. The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to:
  • ban affirmative action programs designed to eliminate discrimination against, and improve opportunities for, women and minorities in public contracting, employment and education; and
  • allow preferential treatment based on race, sex, color, ethnicity, or national origin to meet federal program funds eligibility standards as well as preferential treatment for bona fide qualifications based on sex?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________________
  KAREN KING MITCHELL
  Deputy Attorney General